                   Case: 3:19-cr-00044-wmc Document #: 2 Filed: 03/27/19 Page 1 of 1
JS 45 (1/96) Electronic Version
                                                         Criminal Case Cover Sheet - U.S. District Court

  Place of Offense:                                 Related Case InformatioiJ      9       CR          4 '4 · WMC
                City: Waunakee                          Superseding _ _ _ _ Docket Number _ _ _ _ _ _ __
    County /Parrish: Dane                            Same Defendant _ _ _ _        New Defendant _ _ _ __
                            - - -- - -- -
                                                            Magistrate Judge Case Number                  ~_              ,   ~
                                                             Search Warrant Case Number          /.,,:_ :- ,..~,.,,       .-::;>(');
                                                                   R 20 / R40 from District of     ~;.           ~...>        ~1?
Defendant information:                                                                             ~C;:pu
                                                                                                    <?oo',
                              Matter to be Sealed
                                                    ---
                                                            Yes                 ✓ No                   '.,<'A ~)<
    Def. Name: Patrick O 'Connor
   Alias Name:
     City/State: Waunakee
                      - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - -- -
 Year of Birth:                            Last 4 digits of SSN 3250
                      ---------                                 ----------
              Sex: Male                              Race: White


U.S. Attorney Information:
              AARON D. WEGNER                                        Bar#:
                                                                            - - - - - - - - - - - - - -- -
 Interpreter:     No       Yes                         List language and/ or dialect:
                  ---                                                                   -------------

Location Status:
Arrest Date:
          Already in Federal Custody as of:                              in
               Already in State Custody
               On Pretrial Release


U.S.C. Citations:
Total# of Counts:             2                         Petty                 Misdemeanor                 ✓       Felony
                                                                              Class A
                                                                              Class B
                                                                              Class C

                Index Key/Code                         Description of Offense Charged                          Counts(s)
Set 1    18 U.S.C. § 1343                    Wire fraud/ money laundering                                             1
Set 2    18 U.S.C. § 1956(a)(l)(B)(i)        Laundering of monetary instrument                                        2
Set 3
Set4
SetS
Set 6



Date:                                           Signature       / s/           AARON D. WEGNER
